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AO I99A (Rev. 06/19) Order Setting Conditions of Release                                                    __1_t
                                                                                                      Page I f      P




                    United States of America                     )
                                  V.                             )
                          Michael Shirley                        )       Case No.     1 :22-mj-00739-ML-1
                                                                 )
                                                                 )
                              Defendant

                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(I)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.
      The defendant must appear at:                                  United States Courthouse
                                                                                 Place
                                                           501 West 5th Street, Austin, Texas 78701

      on
                                                               Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 10/20) Additional Conditions of Release                                                                                        Page _   of _    Pages


                                                          ADDITIONAL CONDITIONS OF RELEASE

     Pursuant to 18 U.S .C. § 3142(c)( l )(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
                                appearance of the person as required and the safety of any other perso n and the community.

         IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

(0   )    (6)
            The defendant is placed in the custody of:
            Person or organization
            Address (only if above is an organization)
            City and state _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                              Tel. No. _ _ _ _ _ _ _ _ _ _ _ _ __
who agrees to (a) supe rvise the defendant, (b) use every effort to assure the defendant' s appearance at all court proceedings, and (c) notify the court
immediately if the defendant vio lates a condition ofrelease or is no longer in the custodian's custody.

                                                                                      Signed: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                     Custodian                           Date
([{])     (7)    The defe ndant must:
         ([Z] ) (a) submit to supervision by and report for supervision to the Pretrial Services Office
                     telephone number         512-916-5297                , no later than as directed
          ((Z] ) (b) continue or actively seek employment.
                     continue or start an education program .
         ((~✓ )) (d)
                 (c)
                     surrender any passport to:      _u_.S
                                                         _ P_re_tr_ia_l _S_e rv
                                                                             _ i_ce
                                                                                  _s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         ( ✓ ) (e) not obtain a passport or other international travel document.
         ( ✓ ) (t) abide by the following restrictions on personal association, residence, or trave l: Travel limited to Travis, Wi lliamson, Hays counties and the
                      Middle District of Florida for cou rt related matters, unless approved by Pretrial Services.
         ([{] ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                    including : All co-defendant's to include Amy Tyler, Joseph Ellicott, and Joel Greenberg . .

         (0     ) (h) get medical or psychiatric treatment:

         (0     ) (i) return to custody each _ _ _ __                 at                o'clock afte r being released at _ _ _ _ _ o'clock for employment, schooling,
                                                                           ----
                      or the fo llowing purposes:

         (0   ) (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                    necessary.
                    not possess a firearm, destructive device, or other weapon.
         (~ ) (k)
         ( ✓ ) (1) not use alco hol (       0 )
                                              at all ( [Z] ) excessive ly.
         ( ✓ ) (m) not use or unlawfully possess a narcotic drug or other contro lled substances defined in 2 1 U.S.C. § 802, unless prescribed by a licensed
                    medical practitioner.
         ([{] ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                    random frequency and may include urine testing, the wearing of a sweat patch, a remote alcoho l testing system, and/or any form of
                    prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                    of prohibited substance screening or testing.
         ([{] ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                    supervising officer.
         (0 ) (p) participate in one of the following location restriction programs and co,!!!.glY with its requirements as directed.
                      (0 )  (i) Curfew. You are restricted to your residence every day ( LJ ) from ______ to _ _ _ _ _ , or (                          as    0 )
                                 directed by the pretrial services office or supervising officer; or
                    (0 ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                medical, substance abuse, or mental health treatment; attorney vis its; court appearances; court-ordered obligations; or other
                                activities approved in advance by the pretrial services office or supervising officer; or
                    (0 ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                court appearances or other activities specifically approved by the court; or
                    (0 ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                                you must comply with the location or trave l restrictions as imposed by the court.
                                Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) techno logy.
                    submit to the fo llowing location monitoring techno logy and comp ly with its requirements as directed:
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                                              ADDITIONAL CONDITIONS OF RELEASE

                          Location monitoring technology as directed by the pretrial services or supervising officer; or
                          Voice Recognition ; or
                          Radio Frequency; or
                          GPS.
(0) (r) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
          officer.
(IZ]) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
          questioning, or traffic stops.
(IZ]) (t) Pay all or part of the costs for referrals (treatment, drug testing, residential placement) based upon your ability to pay as directed by Pretrial Services.
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AO 199C (Rev . 09/08) Advice of Penalties                                                                     Page          of          Pages

                                            ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENAL TIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to : obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed . If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                   Acknowledgment of the Defendant

      I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
ofrelease, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                             City and State



                                                 Directions to the United States Marshal

([{]) The defendant is ORDERED released.
(0) The United States marshal is ORDERED to keep the defendant in custody until notified
    has posted bond and/or complied with all other conditions for release. If still in custod
    the appropriate judge at the time and place specified.


Date: - - - -8/31/2022
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                                                                        Honorable Mark                .S. Magistrate Judge




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